                            Case 21-20206-PDR                     Doc 26         Filed 12/27/21              Page 1 of 1

CGFD47 (12/1/15)

                                         United States Bankruptcy Court
                                                      Southern District of Florida
                                                        www.flsb.uscourts.gov
                                                                                                                 Case Number: 21−20206−PDR
                                                                                                                 Chapter: 13

In re: (Debtor(s) name(s) used by the debtor(s) in the last 8 years, including married, maiden, and trade)
Annetta McCalla                                                               Curtis McNeal
1251 NW 51 Ave.                                                               1251 NW 51 Ave.
Lauderhill, FL 33313                                                          Lauderhill, FL 33313

SSN: xxx−xx−1546                                                              SSN: xxx−xx−2479


                 NOTICE OF REQUIREMENT TO COMPLETE A POSTPETITION
               INSTRUCTIONAL COURSE CONCERNING PERSONAL FINANCIAL
                   MANAGEMENT AND SUBMIT PROOF OF COMPLETION
                             OF THE COURSE TO THE COURT
     Notice is given that, subject to limited exceptions, a debtor (both debtors in a joint case) must
complete an instructional course in personal financial management in order to receive a discharge under
chapter 7 [11 U.S.C. §727(a)(11)], under chapter 13 [11 U.S.C. §1328(g)(1)] or, in certain individual
chapter 11 cases where 11 U.S.C. §1141(d)(3) applies. Proof of completion of the course must be
submitted to the court by either the debtor or the course provider on behalf of the debtor.

DEBTOR AND DEBTOR'S ATTORNEY ARE HEREBY NOTIFIED THAT:

       If the course provider has not filed a certificate with the court directly indicating that the debtor has
completed the course, the debtor must file the "Certification About a Financial Management Course",
(Official Bankruptcy Form 423):

     In a chapter 7 case: within 60 days after the first date set for the meeting of creditors under §341.
[See Bankruptcy Rules 1007(b)(7)(A) and (c).]

       In a chapter 13 case: no later than the date of the last payment made as required by the plan or the
filing of a motion for entry of a discharge under §1328(b). [See Bankruptcy Rules 1007(b)(7)(A) and (c).]

    In a chapter 11 individual case where 11 U.S.C. §1141(d)(3) applies: prior to completion of all
payments under the confirmed plan. [See Bankruptcy Rules 1007(b)(7)(B) and (c).]

     This requirement must be met before a discharge can be entered in this case. [See Bankruptcy Rule
4004(c)(1)(H) and Local Rule 4004−3(A).]

       Failure to file the Official Bankruptcy Form 423 certification form, unless the course provider files a
certificate on your behalf, may result in the case being closed without an entry of discharge.

     If the debtor subsequently files a motion to reopen the case to permit the filing of the Official
Bankruptcy Form 423, the debtor must pay the filing fee due for reopening the case. [See Local Rules
4006−1 and 5010−1(G).]

       A list of approved providers of Personal Financial Management Courses is available at:
http://www.justice.gov/ust/eo/bapcpa/ccde/de_approved.htm [see 11 U.S.C. §111]

Dated: 12/27/21                                                              CLERK OF COURT
                                                                             By: admin
                                                                             Deputy Clerk
The clerk shall serve a copy of this notice on the Debtor and Attorney for the Debtor
